
705 S.E.2d 751 (2011)
STATE
v.
Ricky BARTLETT.
No. 2P11-1.
Supreme Court of North Carolina.
February 3, 2011.
G. Mark Teague, Assistant Attorney General, for State of N.C.
*752 M. Alexander Charns, Durham, for Bartlett, Ricky.
Ricky Bartlett, Nashville, for Bartlett, Ricky.
Frank R. Parrish, District Attorney, for State.
The following order has been entered on the motion filed on the 1st of February 2011 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 3rd of February 2011."
